                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION
                               ____________________


WAYSIDE CHURCH, et al.,                  No. 1:14-CV-1274

            Plaintiffs,                  Hon. Paul L. Maloney
v.

COUNTY OF VAN BUREN, et al.,

            Defendants.
_____________________________________/


BRIEF IN SUPPORT OF CLASS REPRESENTATIVES’ EMERGENCY MOTION FOR
 PROTECTIVE ORDER GOVERNING NON-PARTY SOLICITATIONS OF NAMED
                  PLAINTIFFS AND CLASS MEMBERS
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                                       INTRODUCTION

       Class Representatives seek emergency relief to stop the covert, abusive, and unethical

solicitation of named Plaintiffs and Class Members by Visser and Associates, PLLC (“Visser”).

       After eight years of litigation, the parties in this action reached a proposed settlement,

which will afford significant and immediate relief to Class Members.1 To ensure that potential

Class Members make an informed decision regarding whether to accept such relief, this Court has

the authority to regulate communications with potential Class Members. Visser knows this because

a judge in a separate action issued an order to show cause why Visser should not be sanctioned for

apparently abusive solicitations of class members.

       Nonetheless, after learning of this proposed settlement, Visser has commenced another

improper solicitation campaign, with the plain purposes of poaching clients, seeking opt-outs, and

undermining this Court’s ability to efficiently manage this class action. Such correspondence

includes misleading statements and omits material information regarding this case and the

preliminarily approved settlement. Compounding the impropriety, Visser has solicited at least four

named Plaintiffs, known to be represented by counsel, in blatant contempt for ethical rules.

       Visser’s campaign is abusive, unethical, and inexcusable. Protective relief is therefore

warranted under Federal Rule of Civil Procedure 23 and the Court’s inherent authority to regulate

attorney misconduct.



       1
          The Preliminary Approval Order defines the Settlement Class as: “All Persons, their heirs
and successors, who held a non-contingent interest in an Eligible Property at the time that property
was foreclosed by a County and which was sold during the Class Period by that County.” (ECF
No. 234, PageID.4133.). As the Preliminary Approval Order explains, “Eligible Property” means
a parcel of real property foreclosed by a County for the non-payment of real-property taxes, and
which was sold during the Class Period by a County for an amount in excess of the Minimum Sale
Price. (Id.) The Class Period refers to the time for each County during which that County acted as
a foreclosing governmental unit, beginning no earlier than January 1, 2013 and ending on
December 31, 2020. (Id.)
                                         BACKGROUND

   I.       Following eight years of complex litigation and extensive negotiations, the parties
            agree to a District-wide settlement.

        This case has a complex procedural history. Plaintiffs filed their Complaint in 2014,

seeking to recover surplus proceeds following a tax-foreclosure sale. (ECF No. 1.) Over the next

several years, the matter bounced between this Court and the Sixth Circuit as landmark decisions

altered the applicable law.2

        During the latest appeal, the Sixth Circuit sent the case to mediation. (Declaration of David

Fink ¶ 9, ECF No. 222, PageID.3719.) Beginning in June 2021 and continuing through December

2022, the parties conducted extensive negotiations through the Sixth Circuit Mediation Office.

(Id.) During the mediation, the Mediation Office suggested inviting other counties in this District

(the putative defendant class members) to participate. (Id. ¶ 10, PageID.3720.) And that is what

occurred. (Id.) After extensive negotiations, the parties reached a framework for a settlement on a

District-wide basis and obtained approval of the settlement agreement (the “Settlement”) by

County Boards of Commissioners in November and December 2022. (Id. ¶¶ 9-12, PageID.3719-

3720.) Over the next several weeks, counties’ counsel had to communicate with county

representatives and insurance carriers before they could finalize the Settlement. (Id. ¶ 12,

PageID.3720.)


        2
         Between 2014 and 2020, this case was dismissed for failure to state a claim (ECF No.
38); appealed; remanded to dismiss for lack of jurisdiction, see Wayside Church v. Van Buren Cty.,
847 F.3d 812, 822 (6th Cir. 2017); dismissed for lack of jurisdiction (ECF No. 45); and reopened
but stayed pending Knick v. Twp. of Scott, Pennsylvania, 139 S. Ct. 2162 (2019) and Rafaeli, LLC
v. Oakland Cnty., 952 N.W.2d 434 (Mich. 2020). The Knick and Rafaeli decisions provided this
case new life, prompting the Court to lift the stay. (ECF No. 93.) Defendants then moved to dismiss
the action for various reasons. (ECF No. 94) This Court granted in part (and denied in part)
Defendants’ motion to dismiss. (ECF No. 140.) Defendants appealed (ECF No. 160), and the Court
stayed the case again pending appeal (ECF No. 162).
                                                   2
         Plaintiffs believe the Settlement is an extraordinary outcome for Class Members, given the

risks of continued litigation. It is a claims-made settlement, which provides for the payment of

80% of the surplus proceeds, including claims dating back to 2013. On Friday, March 24, 2023,

the Court granted preliminary approval of the Settlement and conditionally certified the Settlement

Class and Sub-Classes. (ECF No. 234.)

   II.      In an obvious attempt to undermine the Settlement, Visser sends improper
            solicitations to Class Members, including named Plaintiffs known to be
            represented by Class Counsel.

         After learning of the proposed Settlement, on December 12, 2022, Visser filed a motion to

intervene in this matter on behalf of “numerous parties,” complaining about the proposed

Settlement. (ECF No. 166.) This Court quickly denied that motion, correctly observing that it was

a procedurally improper attempt to oppose the proposed Settlement. (ECF No. 186,

PagdeID.2745.) This did not end Visser’s campaign to undermine the Settlement through improper

means.

         A few weeks later, Plaintiffs’ counsel received notice that, since the proposed Settlement

had become public, Visser had been soliciting Class Members—including at least four named

Plaintiffs known to be represented by counsel—in willful disregard of the ethical rules, see

Argument Section IV, infra.

         Visser’s correspondence states that the recipients have been identified as a taxpayer that

may have been victimized “by a foreclosure for unpaid property taxes” and the retention of

“surplus proceeds” by a county treasurer. (See Exhibit 1, January through March 2023 Visser

Correspondence.) It further states that recipients “have a potential real claim to recover funds the

county wrongfully withheld,” and that, although “taxing authorities” have historically been

“keep[ing] all the money,” Visser “[n]ow . . . believe[s] there is relief available to those victims
                                                3
and their estates or heirs.” (Id.) The letter goes on to state that, if the recipients are “interested in

knowing more about our claims process or are interested in pursuing a claim,” they can contact

Visser’s office. (Id.)

        Visser’s solicitation is misleading in multiple respects. First, it omits the existence of this

proceeding. That omission conveys that there is no pre-existing action designed to protect the

interests of potential Class Members and frustrates their ability to make an informed decision about

whether to proceed individually. Second, the solicitation does not disclose the existence of the

proposed Settlement, which will afford significant, immediate relief. Rather, the correspondence

obfuscates such relief by suggesting that Visser must be engaged to pursue its vague “belie[f] there

is relief available.” Id. Third, by suggesting that there exists a “claims process,” Visser has

improperly suggested that there exists a straightforward mechanism to recover surplus proceeds,

which is untrue (except if Class Members file a claim under the Settlement), due to the risks of

litigation. Finally, Visser’s use of the phrase “our claims process” is misleading insofar as it

suggests that retaining Visser may be necessary to secure relief.

        Visser’s sending misleading solicitations to Class Members is sufficient, in and of itself, to

warrant protective action. But the need for judicial intervention is particularly acute because Visser

has, outrageously, contacted at least four named Plaintiffs and proposed class representatives—

Henderson Hodgens, Brandy L. Martin, Carl Waite, and Royce D. Covell—who Visser has known

are represented by counsel.3 See McWilliams v. Advanced Recovery Sys., Inc., 176 F. Supp. 3d

635, 640 (S.D. Miss. 2016) (observing named plaintiff “was obviously a represented party”).



        3
         Other potential Class Members known by Plaintiffs’ counsel to be in receipt of the
misleading solicitations include Teresa Miller DeVos, Mary Panis, Lorna Carey, and Danielle
Ahmadieh. (See Exhibit 1, January through March 2023 Visser Correspondence.)
                                               4
          In support of Visser’s December 12, 2022 motion to intervene, Visser filed the proposed

Settlement as an exhibit. (ECF No. 166-9.) The proposed Settlement identified Henderson

Hodgens—a lead plaintiff in this action since 2014—as the proposed class representative for the

Settlement Class and the Sub-Class related to Van Buren County, and it identified Brandy L.

Martin, Carl Waite, and Royce D. Covell as the proposed class representatives for the Settlement

Sub-Classes related to Eaton County, Dickinson County, and Newaygo County, respectively.

(ECF No. 166-9, ¶¶ 3.4.12, 3.4.13, 3.4.35, PageID.2324-2325.) Then, on January 10, 2023,

Plaintiffs filed a Second Amended Complaint, in which Martin, Covell, and Waite are named

Plaintiffs. (See Second Am. Compl. ¶¶ 14-15, ECF 187, PageID.2747.) Visser has thus been aware,

since at least December 2022, that these four Plaintiffs are represented by counsel. Nonetheless,

Visser sent the misleading solicitations to these Plaintiffs after January 10, 2023. (See Exhibit 1,

January through March 2023 Visser Correspondence.)

          Given that Visser is soliciting even named Plaintiffs, it is likely that its misleading

solicitation campaign is pervasive. And Visser’s prior attempt to intervene in the case confirms

that the purpose of this campaign is to poach Class Members and solicit opt-outs while depriving

them of material information.

   III.      Visser’s conduct in Fox v. County of Saginaw corroborates the inference that
             Visser is engaged in a widespread, improper solicitation campaign.

          Additional evidence that Visser is engaged in a far-reaching, improper solicitation

campaign lies in the docket of Fox v. County of Saginaw, Case No. 19-cv-11887 (TLL) (E.D.

Mich.), a class action involving similar claims.

          In Fox, the lead plaintiff, Fox, filed a motion for a protective order that would, among other

things, enjoin Visser from continuing to solicit members of the class. Fox claimed that Visser was

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“improperly and inappropriately solicit[ing]” class members to pillage the class, including through

sending “communications [that] contained misleading statements and omit[ted] material and

crucial information.” Mot. for Protective Order at 1, Fox, Case No. 19-cv-11887 (TLL) (E.D.

Mich.), ECF No. 129, PageID.2542. Fox further claimed that Visser had violated the Michigan

Rules of Professional Conduct by, among other misconduct, contacting class members known to

be represented by counsel. Br. in Support of Mot. for Protective Order at 13-16, Fox, Case No. 19-

cv-11887 (TLL) (E.D. Mich.), ECF No. 129, PageID.2563-2566. Fox further observed that

Visser’s campaign appeared vulturine, as Visser was “retaining class members for an excessive, if

not outrageous 50% contingency fee.” Id. at 4, PageID.2554. The undersigned reasonably infer

that Visser is likely exacting the same excessive fees from individuals seeking to recover surplus

proceeds here. (See Exhibit 2, Visser Retainer Agreement Filed in Fox.)

       The court in Fox issued an order to show cause why a protective order should not be

entered, observing that it “has the authority to control [abusive] communications with the class

before and after class certification.” Order to Show Cause, Fox, Case No. 19-cv-11887 (TLL)

(E.D. Mich.), ECF No. 150, PageID.3341 (internal quotation marks and citations omitted). But

then, following a purportedly transformative meet-and-confer with Visser, Fox represented that a

protective order was no longer necessary because, in effect, Visser had admitted it made a mistake

and learned its lesson. See Response to Show Cause Order, Fox, Case No. 19-cv-11887 (TLL)

(E.D. Mich.), ECF No. 152. Fox represented that Visser “explained [its] perspective that this was

[its] first in-depth encounter with complex class action procedure” and that Visser had been “under

the misapprehension that class-wide relief was not viable.” Id. ¶ 4, PageID.3347. But, now,

according to Fox, Visser supposedly “underst[ood], agree[d], and support[ed]” that “[t]he Class

mechanism [wa]s the only effective means of full and complete redress for victims of the
                                          6
unconstitutional taking . . . .” Id. ¶ 5(a), PageID.3347. Accordingly, Fox stated, Visser had agreed

to stop soliciting class members. Id. ¶ 2(a), PageID.3346.4 As a result of these representations, the

court decided that a protective order was not necessary. See Order, Fox, Case No. 19-cv-11887

(TLL) (E.D. Mich.), ECF No. 156.

        Visser has nonetheless forged ahead with an improper, unethical campaign to undermine

this class action, and its solicitations do not reflect its supposedly new-found understanding of—

and appreciation for—the class action mechanism. Contra Response to Show Cause Order ¶¶ 4,

5(a), Fox, Case No. 19-cv-11887 (TLL) (E.D. Mich.), ECF No. 152, PageID.3347. Protective

action is required to curb Visser’s continued contempt for ethical rules and the class action

procedure.

                                          ARGUMENT

   I.        This Court has the duty and authority to restrict abusive communications
             directed at class members by non-party counsel.

        Under the Federal Rules of Civil Procedure, this Court has “the duty and the broad authority

to exercise control over a class action and to enter appropriate orders governing the conduct of

counsel and parties.” Gulf Oil Co. v. Bernard, 452 U.S. 89, 100 (1981). That duty and authority

extends to “restrict[ing] ‘abusive’ communications directed at class members.” Fox v. Saginaw

Cnty., Michigan, 35 F.4th 1042, 1049 (6th Cir. 2022) (quoting Gulf Oil, 452 U.S. at 101–02).




        4
          Visser’s agreement to stop soliciting Fox class members apparently came with some
reward. On December 30, 2022, Visser filed an appearance as co-counsel in Fox with The Miller
Law Firm, P.C., Philip L. Ellison, and Matthew E. Gronda. Notice of Appearance, Fox, Case No.
19-cv-11887 (TLL) (E.D. Mich.), ECF No. 302, PageID.7410. If Visser remains ignorant of the
class action mechanism, the firm’s co-counsel, who previously expressed outrage at Visser’s
improper actions in the Eastern District of Michigan, should be advising Visser of the impropriety
of the firm’s recent actions in this District.
                                                 7
       Rule 23(d)(1) provides, in relevant part, that “the court may issue orders that: . . . (C)

impose conditions on the representative parties or on intervenors . . . or (E) deal with similar

procedural matters.” Fed. R. Civ. P. 23(d)(1). The authority conferred under Rule 23(d)(1) is broad

and “exists even prior to class certification.” Tolmasoff v. Gen. Motors, LLC, No. 16-11747, 2016

WL 3548219, at *10 (E.D. Mich. June 30, 2016); see also, e.g., Friedman v. Intervet Inc., 730 F.

Supp. 2d 758, 765 (N.D. Ohio 2010) (“[N]umerous cases have approved of court limitations on

communications prior to class certification.”) (collecting cases); Bobbitt v. Acad. of Ct. Reporting,

No. CIV A 07-10742, 2008 WL 4298458, at *2 (E.D. Mich. Sept. 18, 2008) (“[T]he court has the

authority to control communications with the class before and after class certification[.]”).

       Rule 23 also gives the Court jurisdiction over non-party counsel solicitations. Fox, 35 F.4th

at 1047 (“[A] court can control abusive communications of those—parties and nonparties alike—

who threaten or interfere with a class action.”); McWilliams, 176 F. Supp. 3d at 642, 644–45; 3

Newberg and Rubenstein on Class Actions § 9:10 (6th ed.) (“Courts employ the same Gulf Oil

regime used for analyzing party communications when analyzing nonparty communications.”).

       Furthermore, “Rule 23(d) does not . . . require a finding of actual harm; it authorizes the

imposition of a restricting order to guard against the ‘likelihood of serious abuses.’” In re Sch.

Asbestos Litig., 842 F.2d 671, 683 (3d Cir. 1988) (quoting Gulf Oil, 452 U.S. at 104) (emphasis in

original). Communications qualify as “abusive” if they “‘pose[] a serious threat to the fairness of

the litigation process, the adequacy of representation, and the administration of justice generally.’”

Fox, 35 F.4th at 1047 (quoting In re Sch. Asbestos Litig., 842 F.2d at 680). This could include

“sharing misleading information, misrepresenting the nature of the class action, or coercing

prospective class members to opt out of a class.” Id.


                                                  8
         The Sixth Circuit has further noted that “communications that are ‘factually or legally

incomplete, lack objectivity and neutrality, or contain untruths will surely result in confusion and

adversely affect the administration of justice.’” Id. at 1049 (quoting Erhardt v. Prudential Grp.,

Inc., 629 F.2d 843, 846 (2d Cir. 1980)). Thus, even in the absence of affirmative misstatements,

the omission of material information will support a finding that a communication was abusive. Id.

at 1048.

   II.       Visser’s solicitations are abusive and violate Fed. R. Civ. P. 23.

         Visser’s correspondence to Class Members is “abusive” under the law of this Circuit—or

at least demonstrates a “likelihood of serious abuses,” Gulf Oil, 452 U.S. at 104—because it omits

material information. In Fox, the Sixth Circuit held that a non-party’s solicitations were abusive

because they “undermined the goal of informed consent by engaging class members and then

opting them out of the class action, all based on a one-sided presentation of the facts, without

opportunity for rebuttal.” 35 F.4th at 1048 (cleaned up).

         That is what Visser is attempting to do here, as its solicitations do not disclose the existence

of this class action proceeding or the proposed Settlement, which will afford Class Members

significant and immediate relief. Visser’s failure to “even tell[] [potential Class Members] about

the class action” is “hallmark abusive communication.” Id. at 1048; see also 3 Newberg and

Rubenstein on Class Actions § 9:7 (6th ed.) (“[C]ommunications . . . that fail to convey the

necessary context to allow potential class members to make informed decisions between individual

and collective litigation . . . are often considered misleading by courts.”).

         Without knowledge of the existence of this action and the Settlement (let alone detailed

information regarding either), Class Members lack the necessary context to make informed

decisions about whether to remain members of the Class or proceed with Visser in an individual
                                             9
capacity (for an extortionate fee). In re McKesson HBOC, Inc. Sec. Litig., 126 F. Supp. 2d 1239,

1245–46 (N.D. Cal. 2000) (issuing a protective order preventing solicitations by non-party counsel

in part because “[t]he solicitations provide[d] an inadequate disclosure of the comparative costs

and benefits of participating in a class action,” including “the possibility of higher attorneys’

fees”). Visser’s self-serving omissions necessitate protective action by this Court. In re Currency

Conversion Fee Antitrust Litig., 361 F. Supp. 2d 237, 252 (S.D.N.Y. 2005) (explaining that court

must protect putative class members from communications that “omit[] critical information”).

       Moreover, Visser’s correspondence does not simply omit material facts; it is misleading.

By suggesting that there exists a “claims process” separate from the Settlement, Visser has falsely

suggested that there is a simple mechanism for potential Class Members to recover surplus

proceeds, which is untrue (except if they file a claim under the Settlement), due to the risks of

litigation. And Visser cannot credibly dispute that this suggestion is misleading, as it previously

represented to the Fox court that it “underst[ood], agree[d], and support[ed]” that “[t]he Class

mechanism is the only effective means of full and complete redress for victims of the

unconstitutional taking . . . .” Response to Show Cause Order ¶ 5(a), Fox, Case No. 19-cv-11887

(TLL) (PTM) (E.D. Mich.), ECF No. 152, PageID.3347.

       Moreover, Visser’s use of the phrase “our claims process” is misleading insofar as it

suggests that retaining Visser may be necessary to secure relief. See McWilliams, 176 F. Supp. 3d

at 641 (finding communications abusive in part because they suggested that “hiring [certain

counsel] was the only way to recover damages”). Class Members should be protected from

Visser’s duplicity. See Magana v. DoorDash, Inc., 343 F. Supp. 3d 891, 902–03 (N.D. Cal. 2018)

(explaining that the “‘the solicitation of direct representation of class members who are not formal

parties’” and the “‘solicitation of funds and agreements to pay fees’” are among the
                                           10
communications that “‘weigh[] in favor of restrictions’”) (quoting Domingo v. New England Fish

Co., 727 F.2d 1429, 1441 (9th Cir. 1984)).

       Another “disturbing aspect of the letter is that it fails to mention that [Visser] represents

[potential Class Members] who are objecting to the settlement . . . .” Georgine v. Amchem Prod.,

Inc., 160 F.R.D. 478, 492 (E.D. Pa. 1995); see also id. at 495 (“To make the problem worse, many

of the letters and advertisements did not inform the reader that the author or his firm already had

voiced objections to some aspects of the Georgine class action.”); Chalian v. CVS Pharmacy, Inc.,

No. 2:16-CV-8979-AB-AGR, 2020 WL 7347866, at *1–4 (C.D. Cal. Oct. 30, 2020) (ordering

protective relief where attorneys representing attempted intervenors, who were opposed to

settlement, were soliciting potential class members).

       Finally, the abusive nature of Visser’s communications is amplified because it has—in

brazen disregard of the ethical rules, see Section IV, infra—contacted four named Plaintiffs (and

Sub-Class representatives). Chalian, 2020 WL 7347866, at *4 (holding that solicitations “were

also improper insofar as they are interfering with already represented parties”); McWilliams, 176

F. Supp. 3d at 640–41 (listing counsel’s “attempt to poach the named plaintiff and class

representative” among reasons solicitations violated Rule 23); Loatman v. Summit Bank, 174

F.R.D. 592, 602 (D.N.J. 1997) (“The obvious dangers relating to unsupervised communications

with potential class members are magnified when the contact is directed personally to the named

class representative.”). Visser’s attempt to poach these represented parties corroborates its intent

to undermine the Settlement through improper means.

       To be sure, the correspondence concludes by asking recipients to “disregard” the

communication if they are already represented. But this request does nothing to remedy the

confusion caused by the rest of Visser’s letter, nor does it eliminate the impropriety of sending
                                                11
misleading communications to represented parties. If anything, it merely tends to show that Visser

knows its correspondence is improper.

    III.      Visser’s violations of Rule 23 warrant injunctive relief, curative notice, an
              accounting of solicitation activities, and the rescission of any agreements entered
              between Visser and Class Members.

           The court should fashion an order that “weigh[s] the need to protect class members against

the restriction of a speaker’s First Amendment rights.” Fox, 35 F.4th at 1047. Visser’s abusive

communications warrant an order (1) enjoining Visser from any further communications with

Class Members; (2) requiring a curative notice to Class Members solicited by Visser; (3) requiring

an expedited accounting of all individuals Visser has solicited, to aid the issuance of such curative

notice as well as expedited discovery into Visser’s communications with Class Members; (4)

permitting Class Members to rescind retainer agreements between them and Visser; and (5)

scheduling a show-cause hearing after the expedited accounting is produced to determine whether

Visser should be disqualified from representing Class Members.

           In Fox, the Sixth Circuit held that enjoining a non-party from further communications with

class members was proper where the record showed that the non-party was “willing and able to

mislead class members.” 35 F.4th at 1050. Given Visser’s willful chicanery, similar relief is proper

here. And, as other courts have recognized, once misleading correspondence has “been

communicated to putative class members, that bell cannot be unrung.” Kater v. Churchill Downs

Inc., 423 F. Supp. 3d 1055, 1064 (W.D. Wash. 2019). Visser’s correspondence may present the

first instance in which many potential Class Members learn of the issues underlying this action,

and “[t]here exists a serious risk that [they] . . . will be inclined to disregard further communications

about them.” Kater, 423 F. Supp. 3d at 1064. “Convincing class members to take the steps


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necessary to secure recovery in a class action settlement . . . is often difficult.” Id. A prophylactic

rule preventing improper solicitations is thus appropriate.5

       As to curative notice, courts frequently fashion such relief where a third party has sent

misleading communications to class members. E.g., Fox, 35 F.4th at 1047; Moulton v. U.S. Steel

Corp., 581 F.3d 344, 353 (6th Cir. 2009) (affirming district court’s corrective notice to “unwind

the confusion” caused by improper communications); In re McKesson HBOC, Inc. Sec. Litig., 126

F. Supp. 2d at 1246. The same relief is required to remedy potential confusion here.

       The requested accounting, meanwhile, is necessary to help distribute the curative notice to

affected parties. E.g., McWilliams, 176 F. Supp. 3d at 645.

       As to the rescission of retainer agreements, the Sixth Circuit has stated that permitting class

members to rescind retainer agreements is “not extraordinary,” and that “[e]xamples of inherently

abusive pre-certification agreements that might justify rescission are those solicited for the purpose

of undermining a class action.” Fox, 35 F.4th at 1050 & n.3. As discussed above, Visser is engaged

in a widespread, misleading solicitation campaign, which includes the unethical solicitation of

named Plaintiffs. Moreover, Visser has publicly announced its opposition to the Settlement by

filing a procedurally improper motion to intervene. It is therefore plain that Visser has sought to

enter into retainer agreements with the purpose of undermining this action, despite its previous

recognition that “[t]he Class mechanism [wa]s the only effective means of full and complete

redress for victims of the unconstitutional taking . . . .” Response to Show Cause Order ¶ 5(a), Fox,



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         “Because the source of the Court’s authority to enjoin abusive communications is Rule
23(d) rather than Rule 65 . . . , a party does not have to establish the four preliminary-injunction
factors to obtain such an injunction.” James v. Detroit Prop. Exch., No. 18-13601, 2019 WL
9098024, at *10 (E.D. Mich. July 11, 2019) (internal quotation marks and citations omitted).

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Case No. 19-cv-11887 (TLL) (PTM) (E.D. Mich.), ECF No. 152, PageID.3347. Permitting the

rescission of retainer agreements reached with potential Class Members is thus warranted. Fox, 35

F.4th at 1050 & n.3.

         Disqualifying Visser from any representation of objectors in this action may also be

appropriate, depending on the breadth and willfulness of Visser’s misconduct, which may best be

determined through the accounting and associated discovery. Blanchard v. EdgeMark Fin. Corp.,

175 F.R.D. 293, 304 (N.D. Ill. 1997) (disqualifying counsel based on violations of Rule 23).

   IV.      Visser’s communications also violate the Michigan Rules of Professional Conduct,
            providing another basis for the requested relief.

         In addition to violating Rule 23, Visser’s solicitations violate multiple Michigan Rules of

Professional Conduct (“MRPC”), providing another basis for the requested relief. McWilliams,

176 F. Supp. 3d at 645 (explaining that protective order was also necessary to “deter future

violations of the Mississippi Rules of Professional Conduct”); Blanchard, 175 F.R.D. at 304 (N.D.

Ill. 1997) (explaining that court was “fully empowered to order whatever sanctions it deem[ed]

just and appropriate” based on violations of ethics rules). This Court has authority under Local

Rule of General Practice and Procedure 2.3(a), (d).

         Visser is well aware that Plaintiffs are represented by undersigned counsel. Indeed, one of

the Plaintiffs it contacted, Hodgens, has been a lead Plaintiff since 2014. And because Visser

represents attempted intervenors (and likely objectors), MRPC 4.2(a) prohibits Visser from

“communicat[ing] about the subject of the representation with a person whom [Visser] knows to

be represented in the matter by another lawyer, unless the lawyer has the consent of the other

lawyer or is authorized by law to do so.” MRPC 4.2(a). Despite this clear guidance, Visser covertly

contacted at least four named Plaintiffs (and proposed Class and Sub-Class representatives) about

                                                 14
this case. See McWilliams, 176 F. Supp. 3d at 640 (observing that a named plaintiff “was obviously

a represented party”); MRPC, Terminology (“A person’s knowledge may be inferred from the

circumstances”).6 This is a direct, indefensible violation of MRPC 4.2(a).

       Visser’s solicitations also violate MRPC 7.1(a), which provides that a lawyer’s

communications shall not “contain a material misrepresentation of fact or law, or omit a fact

necessary to make the statement considered as a whole not materially misleading.” MRPC 7.1(a).

For the reasons discussed above, Visser’s solicitations are materially misleading in multiple

respects and therefore violate this Rule.     Visser’s violations of the MRPC provide an

additional basis for enjoining future communications with Class Members, as well as “whatever

sanctions [the Court] deems just and appropriate.” Blanchard, 175 F.R.D. at 303.

                                            CONCLUSION

       Based on the foregoing, Plaintiffs respectfully request that the Court enter an order:

       (a)     Enjoining Visser from soliciting or otherwise communicating with Class Members,

including through both written and oral communications;

       (b)     Requiring Visser to produce an accounting within ten days of all individuals Visser

has solicited and the form of such solicitations;

       (c)     Authorizing Class Counsel to conduct discovery with responses due in 14 days

related to the accounting and Visser’s solicitation of Class Members;




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         Even if Visser disclaims knowledge that these individuals were represented, “counsel
cannot be excused from the Court’s [finding of a violation of Rule 4.2] simply because of sloppy
case management.” Scott v. Chipotle Mexican Grill, Inc., No. 12-CV-08333 ALC SN, 2014 WL
4852063, at *3 (S.D.N.Y. Sept. 29, 2014).
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       (d)     Permitting Class Counsel to send a corrective notice to all Class Members solicited

by Visser, in a form approved by the Court, which discloses this Court’s finding that Visser has

been improperly soliciting Class Members;

       (e)     Allowing Class Members to rescind retainer agreements between them and Visser

if they were solicited by Visser;

       (f)     Scheduling a show-cause hearing within 56 days to determine whether Visser

should be disqualified from representing Class Members; and

       (g)     Any other relief this Court deems just and proper.



        Dated: March 29, 2023                       Respectfully submitted,

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                             CERTIFICATE OF COMPLIANCE

       Pursuant to Local Rule 7.3(b)(i), Counsel for Plaintiffs certifies that this brief contains

4,753 words, as indicated by Microsoft Word 2021, inclusive of any headings, footnotes, citations,

and quotations, and exclusive of the caption, cover sheets, table of contents, signature block, any

certificate, and any accompanying documents. Plaintiffs are filing a Motion for Leave to File

Oversized Brief concurrently with this filing.



                                                  /s/ David H. Fink_____________
                                                  David H. Fink




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